96 F.3d 1430
    NOTICE: First Circuit Local Rule 36.2(b)6 states unpublished opinions may be cited only in related cases.Jerome WASHINGTON, Plaintiff, Appellant,v.Ronald DUVAL, Superintendent, MCI-Walpole, et al.,Defendants, Appellees.
    No. 95-2312.
    United States Court of Appeals, First Circuit.
    Sept. 26, 1996.
    
      Jerome Washington on brief pro se.
      Vincent L. DiCianni and Ferriter, Scobbo, Sikora, Singal, Caruso &amp; Rodophele, P.C., on brief for appellees.
      Before SELYA, CYR and BOUDIN, Circuit Judges.
      PER CURIAM.
    
    
      1
      Jerome Washington appeals from the district court's grant of summary judgment in defendants' favor on his claim that defendants were deliberately indifferent to his medical needs and safety in violation of the Eighth Amendment to the Constitution.  We affirm for substantially the reasons given in the district court's decision dated May 8, 1995, adding only a brief comment.
    
    
      2
      Washington correctly claims on appeal that defendants' affidavit in support of summary judgment failed to recite facts which suggested that defendant John McClintock had reason to suspect that Washington might injure himself if left in a cold cell.  Nonetheless, the record supports the court's determination that defendants were not deliberately indifferent to Washington's needs by not providing him with a blanket.  Washington had told McClintock that he had placed a noose around his neck, made from his bedding, because his cell was cold.  At the same time, however, he had also told McClintock that he did not want to return to the general prison population because he feared for his safety.  McClintock's notes indicate that he was concerned that Washington might hurt himself because of his fear about being returned to the general population.  Under the circumstances, McClintock's decision not to give Washington a blanket was reasonable, even if he knew that Washington had once placed a noose around his neck because he was cold, especially since he continued regular observation of Washington and informed him that he could have a blanket the next day if the night passed "without incident."   Under the circumstances, McClintock did not act in deliberate indifference to Washington's needs, and summary judgment in defendants' favor was proper.
    
    
      3
      Affirmed.
    
    